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     7   Facsimile: (213) 430-6407
     8   Attorneys for Defendants Robert Rosette,
         Rosette & Associates, PC, and Rosette, LLP
     9
    10
                            UNITED STATES DISTRICT COURT
    11
                          SOUTHERN DISTRICT OF CALIFORNIA
    12
    13
         WILLIAMS & COCHRANE, LLP,                Case No. 17-CV-01436 GPC DEB
    14
                           Plaintiff,             DECLARATION OF
    15                                            BRITTANY ROGERS IN
    16
               v.                                 SUPPORT OF DEFENDANTS’
                                                  MOTION FOR SUMMARY
    17   QUECHAN TRIBE OF THE FORT                JUDGMENT
         YUMA INDIAN RESERVATION, a
    18   federally-recognized Indian tribe;       [Notice of Motion; Memorandum
         ROBERT ROSETTE; ROSETTE &                of Points & Authorities; Separate
    19   ASSOCIATES, PC; and ROSETTE,             Statement of Undisputed Material
         LLP,                                     Facts; Rosette Declaration;
    20
                                                  Escalanti Declaration; White
    21                     Defendants.            Declaration; Deschene Declaration
                                                  Filed Concurrently]
    22
                                                  Date:       December 4, 2020
    23                                            Time:       1:30 pm
    24                                            Judge:      Hon. Gonzalo P. Curiel
                                                  Courtroom: 2D
    25                                            Trial Date: Not Set
    26
    27   AND ALL RELATED COUNTER
         CLAIMS
    28
                                                                 ROGERS DECL. ISO MOTION
                                                                 FOR SUMMARY JUDGMENT
                                                                      17-CV-01436 GPC DEB
Case 3:17-cv-01436-RBM-DEB Document 322-7 Filed 09/09/20 PageID.20219 Page 2 of 23



     1                     DECLARATION OF BRITTANY ROGERS
     2         I, Brittany Rogers, declare as follows:
     3         1.     I am an attorney licensed to practice law in the State of California, a
     4   member in good standing of the State Bar of California, and admitted to the bar of
     5   the United States District Court for the Southern District of California. I am an
     6   attorney with O’Melveny & Myers LLP, and counsel for Defendants Robert
     7   Rosette, Rosette & Associates, PC, and Rosette, LLP (collectively, “Rosette”). I
     8   make this declaration based upon my knowledge of the facts stated herein, and if
     9   called to testify, I could and would testify competently thereto. I submit this
    10   declaration in support of the Rosette Defendants’ Motion for Summary Judgment.
    11         2.     On October 28, 2019, I emailed Cheryl Williams and Kevin Cochrane
    12   of Plaintiff Williams & Cochrane, LLP (“W&C”), attaching a letter from my
    13   colleague, Matthew W. Close, to Ms. Williams and Mr. Cochrane, dated October
    14   28, 2019. The letter explained that certain of W&C’s written document requests to
    15   Rosette could be interpreted as calling for the production of material covered by the
    16   attorney-client privilege and work product protection in connection with Rosette’s
    17   previous representation of the Pauma Band of Luiseño Mission Indians (“Pauma”).
    18   The letter sought Pauma’s views through W&C, Pauma’s legal representatives and
    19   the Plaintiff in this litigation, about whether Pauma intended to assert or waive
    20   attorney-client privilege and work product protections over material related to
    21   Rosette’s representation of Pauma in compact negotiations with the State of
    22   California and subsequent litigation. Attached as Exhibit 44 is a true and correct
    23   copy of my email, dated October 28, 2019, transmitting the attached
    24   correspondence.
    25         3.     On November 12, 2019, I received an email from Ms. Williams,
    26   attaching a letter from Pauma Chairman Temet Aguilar to Mr. Close, dated
    27   November 11, 2019. Chairman Aguilar’s letter requested that Rosette transmit the
    28   materials at issue to the attention of Tom McAndrews, Pauma’s Chief Financial
                                                                       ROGERS DECL. ISO MOTION
                                                  -1-                  FOR SUMMARY JUDGMENT
                                                                            17-CV-01436 GPC DEB
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     1   Officer. The letter also included several questions and a request for “any other
     2   materials related to legal work the Rosette Defendants have purportedly done on
     3   Pauma’s behalf over the past four years.” The letter closed with the following
     4   sentence: “Should you have any need to communicate with me in connection with
     5   this request, please do so in writing through Pauma’s counsel at Williams &
     6   Cochrane LLP.” Attached as Exhibit 45 is a true and correct copy of the email
     7   from Ms. Williams, dated November 12, 2019, transmitting the attached
     8   correspondence.
     9         4.     On November 25, 2019, I emailed Ms. Williams and Mr. Cochrane,
    10   attaching a letter from Mr. Close to Chairman Aguilar, dated November 25, 2019.
    11   The letter responded to Chairman Aguilar’s November 11, 2019 correspondence.
    12   The letter explained that W&C’s lawsuit against Rosette relates to a statement
    13   about Rosette’s representation of Pauma, and that Pauma’s client files go to the
    14   heart of W&C’s claim. The letter also advised Chairman Aguilar that Rosette’s due
    15   process rights would be infringed without the ability to use the documents to defend
    16   themselves. In addition, the letter stated that Rosette interpreted his question
    17   regarding recent legal work for Pauma as a request for client files, and noted that
    18   Rosette would provide client files relating to Rosette’s representation of Pauma in
    19   connection with compact negotiations and subsequent litigation that are currently in
    20   the possession of Rosette and that Pauma has a reasonable right to under applicable
    21   professional rules. Attached as Exhibit 46 is a true and correct copy of my email,
    22   dated November 25, 2019, transmitting the attached correspondence, “care of
    23   Pauma’s attorneys, Williams & Cochrane.”
    24         5.     On December 31, 2019, I am informed and believe that my colleagues
    25   at O’Melveny transmitted copies of the Pauma materials at issue to the attention of
    26   Tom McAndrews, Pauma’s Chief Financial Officer. Also on December 31, 2019, I
    27   emailed Ms. Williams and Mr. Cochrane, attaching a letter from Mr. Close to Mr.
    28   McAndrews, dated December 31, 2019, concerning the documents delivered to
                                                                        ROGERS DECL. ISO MOTION
                                                  -2-                   FOR SUMMARY JUDGMENT
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     1   Pauma for review. Attached as Exhibit 47 is a true and correct copy of my email,
     2   dated December 31, 2019, transmitting the attached correspondence.
     3         6.     On February 19, 2020, I emailed Ms. Williams and Mr. Cochrane,
     4   attaching a letter from Mr. Close to Mr. McAndrews, dated February 19, 2020. The
     5   letter inquired whether Pauma had an opportunity to review the documents
     6   transmitted five weeks earlier. The letter also asked whether Pauma intended to
     7   assert that any of Pauma’s files should be withheld from production in this
     8   litigation on the basis of any privilege or protection. It requested a response from
     9   Pauma by February 28. Attached as Exhibit 49 is a true and correct copy of my
    10   email, dated February 19, 2020, transmitting the attached correspondence.
    11         7.     On February 29, 2020, I received an email from Ms. Williams,
    12   attaching a letter from Chairman Aguilar to Mr. Close, also dated February 29,
    13   2020. The letter requested that Mr. Close send Chairman Aguilar “all relevant
    14   emails and files from the Rosette law firm” for the period of 2009 to the summer of
    15   2010, as well as “all relevant emails . . . for every Rosette employee whose names
    16   appears in the documents provided to date.” Attached as Exhibit 50 is a true and
    17   correct copy of an email from Ms. Williams, dated February 29, 2020, transmitting
    18   the attached correspondence.
    19         8.     On March 20, 2020, I emailed Ms. Williams and Mr. Cochrane,
    20   attaching a letter from Mr. Close to Chairman Aguilar, dated March 20, 2020. The
    21   letter accompanied a second document production, comprising five documents, to
    22   supplement the client materials previously transmitted. The letter explained that
    23   “Rosette will not . . . accede to [Pauma’s] requests for materials and information
    24   beyond the scope of Rule 1.16.” The letter again explained that W&C’s lawsuit
    25   against Rosette relates to a statement about Rosette’s representation of Pauma, and
    26   that Pauma’s client files go to the heart of W&C’s claim. The letter also advised
    27   Chairman Aguilar that Rosette’s due process rights would be infringed without the
    28   ability to use the documents to defend themselves, and it requested a definitive
                                                                       ROGERS DECL. ISO MOTION
                                                  -3-                  FOR SUMMARY JUDGMENT
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     1   answer from Pauma. Attached as Exhibit 51 is a true and correct copy of my
     2   email, dated March 20, 2020, transmitting the attached correspondence.
     3         9.    I have not received any response from Chairman Aguilar, Mr.
     4   McAndrews, or any other Pauma representative.
     5         10.   Also attached to this Declaration are true and correct copies of the
     6   following documents:
     7   Ex. Description                                                             Page
     8         Pauma v. State of California et al., Case No. 3:09-cv-01955 (S.D.
         1.                                                                          14
     9         Cal.), Dkt. 1-1 (Amendment to Tribal-State Compact between
               State of California and Pauma Band of Mission Indians), dated
    10
               June 21, 2004, produced in this litigation by W&C as WC5915-
    11         WC5968
    12
         2.    Presentation: Discussion Between the Pauma Band and the State         68
    13
               of California re 2004 Compact Amendment Payments, dated
    14         January 13, 2009, produced in this litigation by the Rosette
               Defendants as ROS-0009612-ROS-0009620
    15
    16
         3.    Complaint, Pauma v. State of California et al., Case No. 3:09-cv- 77
    17         01955 (S.D. Cal.), dated September 4, 2009, produced in this
               litigation by W&C as WC5825-WC5914 and marked as Exhibit 50
    18
               during the deposition of Kevin Cochrane taken on June 8, 2020
    19
    20
         4.    Pauma’s Motion for Preliminary Injunction, Pauma v. State of    167
    21         California et al., Case No. 3:09-cv-01955 (S.D. Cal.), Dkt. 20,
               dated February 16, 2010, produced in this litigation by W&C as
    22         WC6001-WC6030 and marked as Exhibit 52 during the deposition
    23         of Kevin Cochrane taken on June 8, 2020

    24
         5.    Order Granting Plaintiff’s Motion for Injunctive Relief Regarding     198
    25         Compact Payments, Pauma v. California, No. 3:09-cv-01955
    26         (S.D. Cal.), Dkt. 44, dated April 12, 2010

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                                                                      ROGERS DECL. ISO MOTION
                                                -4-                   FOR SUMMARY JUDGMENT
                                                                           17-CV-01436 GPC DEB
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     1
         Ex. Description                                                            Page
     2
         6.   Preliminary Injunction Appeal, Pauma v. State of California et al., 201
     3
              Case No. 3:09-cv-01955 (S.D. Cal.), Dkt. 50, dated May 4, 2010
     4
     5        Order Denying Motion and Ex Parte Application for Stay, Pauma
         7.                                                                         213
     6        v. State of California et al., Case No. 3:09-cv-01955 (S.D. Cal.),
              Dkt. 55, dated May 7, 2010
     7
     8        Opposition to Motion to Stay, Pauma v. State of California et al.,
         8.                                                                         215
     9        Case No. 3:09-cv-01955 (S.D. Cal.), Dkt. 15, dated June 11, 2010

    10
         9.   Order Granting State of California’s Motion to Stay, Pauma v.         241
    11        State of California, et al., Case No. 10-55713 (9th Cir.), Dkt. 39,
    12        dated July 28, 2010, produced in this litigation by W&C as
              WC6084-WC6085
    13
    14
         10. Emergency Motion, Pauma v. State of California, et al., Case No.       243
    15       10-55713 (9th Cir.), Dkt. 51-1, dated August 17, 2010, produced
             in this litigation by W&C as WC6163-WC6290
    16
    17
         11. Order vacating order to stay and reinstating preliminary injunction, 371
    18       Pauma v. State of California, et al., Case No. 10-55713 (9th Cir.),
             Dkt. 55, dated August 23, 2010, produced in this litigation by
    19       W&C as WC6291-WC6292
    20
    21   12. Transcript of deposition of Robert Rosette (Pauma v. Harrah’s          373
             Operating Co., Case No. GIC847406), dated October 26, 2010,
    22       produced in this litigation by W&C as WC6877-WC7077 and
    23       marked as Exhibit 71 during the deposition of Cheryl Williams
             taken on June 11, 2020
    24
    25
         13. Order remanding action, Pauma v. State of California et al., Case      574
    26       No. 10-55713 (9th Cir.), Dkt. 64-1, dated November 30, 2010,
             produced in this litigation by W&C as WC6062-WC6069
    27
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                                                                     ROGERS DECL. ISO MOTION
                                                -5-                  FOR SUMMARY JUDGMENT
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     1
         Ex. Description                                                         Page
     2
     3   14. Rosette response to Request for Proposal, dated July 23, 2011,      582
             produced in this litigation by the Rosette Defendants as ROS-
     4       0001816-ROS-0001827
     5
     6   15. Rosette response to Request for Proposal, dated July 9, 2012,       594
             produced in this litigation by the Rosette Defendants as ROS-
     7       0001874-ROS-0001878
     8
     9   16. Order granting Pauma’s Motion for Summary Judgment, Pauma v. 599
             State of California et al., Case No. 3:09-cv-01955 (S.D. Cal.), Dkt.
    10       227, dated Mar. 18, 2013, produced in this litigation by W&C as
    11       WC6438-WC6468

    12
    13   17. W&C Website, “Tribal Litigators, Advocates, Counselors,” dated      630
             July 19, 2013, produced in this litigation by the Rosette
    14       Defendants as ROS-0009524-ROS-0009525

    15
    16   18. W&C Presentation to the Quechan Tribal Council, dated        632
             September 14, 2016, produced in this litigation by W&C as
    17       WC5490-WC5501 and marked as Exhibit 56 during the deposition
             of Kevin Cochrane taken on June 8, 2020
    18
    19
         19. Letter from Tonto Apache Chairwoman Jeri DeCola to tribal           645
    20       leaders re Invitation to Discuss Gaming Compact Negotiations for
             Smaller Casino Tribes, dated February 28, 2017, produced in this
    21       litigation by the Rosette Defendants as ROS-0000001-ROS-
    22       0000007
    23
    24   20. W&C Presentation to the Quechan Tribal Council, dated March   652
             24, 2017, produced in this litigation by Quechan as QUECHAN-
    25       WC-00002520-QUECHAN-WC-00002543 and marked as Exhibit
             85 during the deposition of Cheryl Williams taken on June 11,
    26       2020
    27
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                                                                  ROGERS DECL. ISO MOTION
                                              -6-                 FOR SUMMARY JUDGMENT
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     1
         Ex. Description                                                           Page
     2
     3   21. W&C Correspondence with the Tribal Council re: Contingency            676
             fee, dated April 5, 2017, produced in this litigation by Quechan as
     4       QUECHAN-WC-00002544-QUECHAN-WC-00002546
     5
     6   22. W&C email to State re Proposed edits to Compact Negotiations    679
             with Quechan Tribe, dated April 13, 2017, produced in this
     7       litigation by the California Department of Justice as DOJ01242-
     8       DOJ01243 and marked as Exhibit 15 during the deposition of Hon.
             Joginder Dhillon taken on June 2, 2020
     9
    10
         23. Tribal-State Compact between State of California and Quechan          681
    11       Tribe, dated April 13, 2017, produced in this litigation by the
             California Department of Justice as DOJ01244-DOJ01386 and
    12       marked as Exhibit 16 during the deposition of Hon. Joginder
    13       Dhillon taken on June 2, 2020

    14
    15   24. Email between Quechan Vice President and C. Williams, dated           824
             April 13, 2017, produced in this litigation by Quechan as
    16       QUECHAN-WC-00002458

    17
    18   25. Email from C. Williams to Quechan Vice President, dated April         825
             14, 2017, produced in this litigation by W&C as WC0015-
    19       WC0016
    20
    21   26. Rosette response to Request for Proposal for Professional        827
             Services: Outside Legal Counsel, dated April 19, 2017, produced
    22       in this litigation by the Rosette Defendants as ROS-0001586-ROS-
             0001602
    23
    24
         27. Email correspondence between Quechan Vice President and C.            844
    25       Williams, dated April 26, 2017, produced in this litigation by
             Quechan as QUECHAN-WC-00001883-QUECHAN-WC-
    26       00001885
    27
    28
                                                                    ROGERS DECL. ISO MOTION
                                               -7-                  FOR SUMMARY JUDGMENT
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     1
         Ex. Description                                                          Page
     2
     3   28. Email from Quechan Councilman Mark William White II to               847
             Wilson Pipestem, dated April 27, 2017, produced in this litigation
     4       by Quechan as QUECHAN-WC-00006969
     5
     6   29. Email from C. Deschene to Councilman White, dated May 30,            848
             2017, produced in this litigation by Quechan as QUECHAN-WC-
     7       00006988 and marked as Exhibit 69 during the deposition of
     8       Cheryl Williams taken on June 11, 2020

     9
         30. Letter from Tonto Apache President Calvin Johnson to Quechan         849
    10       President Keeny Escalanti, dated May 31, 2017, produced in this
    11       litigation by the Rosette Defendants as ROS-0000012-ROS-
             0000013
    12
    13
         31. Letter from Tonto Apache President Johnson to San Juan Southern 851
    14       Paiute Tribe President, dated May 31, 2017, produced in this
             litigation by the Rosette Defendants as ROS-0000008-ROS-
    15       0000009
    16
    17   32. Letter from Tonto Apache President Johnson to San Carlos             853
             Apache Chairman, dated May 31, 2017, produced in this litigation
    18       by the Rosette Defendants as ROS-0000010-ROS-0000011
    19
    20   33. Letter from C. Deschene to Quechan Tribe of the Fort Yuma            855
             Indian Reservation re Proposal for Legal Services, dated May 31,
    21       2017, produced in this litigation by Quechan as QUECHAN-WC-
    22       00006989-QUECHAN-WC-00006996 and marked as Exhibit 70
             during the deposition of Cheryl Williams taken on June 11, 2020
    23
    24
         34. Email from W&C to C. Montague dated June 9, 2017, produced in 863
    25       this litigation by W&C as WC0017-WC0018 and marked as
             Exhibit 58 during the deposition of Kevin Cochrane taken on June
    26       8, 2020
    27
    28
                                                                   ROGERS DECL. ISO MOTION
                                               -8-                 FOR SUMMARY JUDGMENT
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    1
         Ex. Description                                                          Page
    2
    3    35. Email from W&C to Quechan, dated June 9, 2017, produced in           865
             this litigation by W&C as WC2778
    4
    5
         36. Rosette response to Request for Proposal, dated June 14, 2017,       866
    6        produced in this litigation by the Rosette Defendants as ROS-
             0001603-ROS-0001624
    7
    8
         37. Email from W&C to Quechan, dated June 15, 2017, produced in       888
    9        this litigation by W&C as WC2782-WC2784 and marked as
             Exhibit 92 during the deposition of Cheryl Williams taken on June
   10        11, 2020
   11
   12    38. Email from W&C to Quechan, dated June 18, 2017, produced in          891
             this litigation by W&C as WC2785 and marked as Exhibit 93
   13        during the deposition of Cheryl Williams taken on June 11, 2020
   14
   15    39. Quechan Letter re Termination of W&C Attorney-Client                 892
             Relationship, dated June 26, 2017, produced in this litigation by
   16        W&C as WC2948-WC2951 and marked as Exhibit 96 during the
   17        deposition of Cheryl Williams taken on June 11, 2020

   18
   19    40. Tribal State Compact between State of CA and Quechan Tribe,          896
             Dkt. 220-20, signed by Quechan on August 31, 2017, marked as
   20        Exhibit 31 during the deposition of Hon. Joginder Dhillon taken
             on June 2, 2020
   21
   22
         41. Dhillon Decl. in Support of Quechan Motion to Dismiss, Dkt. 50-      1043
   23        4, dated April 6, 2018, marked as Exhibit 1 during the deposition
             of Hon. Joginder Dhillon taken on June 2, 2020
   24
   25
         42. W&C Website, “Tribal Litigators, Advocates, Counselors,” dated       1050
   26        August 6, 2018, produced in this litigation by the Rosette
             Defendants as ROS-0009606-ROS-0009607
   27
   28
                                                                   ROGERS DECL. ISO MOTION
                                               -9-                 FOR SUMMARY JUDGMENT
                                                                        17-CV-01436 GPC DEB
Case 3:17-cv-01436-RBM-DEB Document 322-7 Filed 09/09/20 PageID.20228 Page 11 of
                                      23


    1
         Ex. Description                                                        Page
    2
    3    43. Biography of Robert Rosette, Dkt. 220-6, marked as Exhibit 53      1052
             during the deposition of Kevin Cochrane taken on June 8, 2020
    4
    5
         44. Email from B. Rogers to C. Williams and K. Cochrane attaching a    1058
    6        letter from M. Close to C. Williams and K. Cochrane re Request
             for Waiver of Attorney-Client Privilege, dated October 28, 2019
    7
    8
         45. Email from C. Williams attaching a letter from Chairman of the     1061
    9        Pauma Band of Mission Indians to M. Close re Request for
             Waiver of Attorney-Client Privilege, dated November 11, 2019
   10
   11
         46. Email from B. Rogers to C. Williams and K. Cochrane attaching a    1066
   12        letter from M. Close to Chairman of the Pauma Band of Mission
             Indians re Response to Request for Waiver of Attorney-Client
   13        Privilege, dated November 25, 2019
   14
   15    47. Email from B. Rogers to C. Williams and K. Cochrane attaching    1071
             letter from M. Close to T. McAndrews re Response to Requests
   16        for Waiver of Attorney-Client Privilege, dated December 31, 2019
   17
   18    48. W&C’s Second Amended Responses to Rosette Defendants’ First        1074
             Set of Interrogatories, dated January 8, 2020
   19
   20
         49. Email from B. Rogers to C. Williams and K. Cochrane attaching      1127
   21        letter from M. Close to T. McAndrews re Response to Request for
             Waiver for Attorney-Client Privilege, dated February 19, 2020
   22
   23
         50. Email from C. Williams attaching a letter from Chairman of the     1129
   24        Pauma Band of Mission Indians to M. Close re Request for
             Waiver for Attorney-Client Privilege, dated February 29, 2020
   25
   26
         51. Email from B. Rogers to C. Williams and K. Cochrane attaching a    1132
   27        letter from M. Close to Chairman of the Pauma Band of Mission
   28
                                                                 ROGERS DECL. ISO MOTION
                                             - 10 -              FOR SUMMARY JUDGMENT
                                                                      17-CV-01436 GPC DEB
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                                      23


    1
         Ex. Description                                                          Page
    2        Indians re Response to Request for Waiver of Attorney-Client
    3        Privilege, dated March 20, 2020
    4
    5    52. Transcript of deposition of Hon. Joginder Dhillon, dated June 2,     1135
             2020
    6
    7    53. Transcript of deposition of Sara Drake, dated June 3, 2020           1425
    8
    9    54. Transcript of deposition of Kevin Cochrane, dated June 8, 2020       1549
   10
   11    55. Transcript of deposition of Cheryl Williams, dated June 11, 2020     1935
   12
   13    56. Expert Report of Lynda Shely, dated July 8, 2020                     2287
   14
   15    57. Expert Report of Bryan A. Garner, dated July 13, 2020                2324
   16
   17    58. Expert Report of Anthony Miranda, dated July 13, 2020                2340
   18
   19
         59. Expert Report of George Forman, dated July 13, 2020                  2437
   20
   21
         60. Supplement to Expert Report of Bryan A. Garner, dated July 24,       2451
   22        2020

   23
         61. Order, Pauma v. State of California et al., Case No. 18-56457 (9th 2452
   24        Cir.), dated September 2, 2020
   25
   26    62. W&C NIGA Presentation, produced in this litigation by W&C as 2474
             WC8001-WC8043 and marked as Exhibit 54 during the deposition
   27        of Kevin Cochrane taken on June 8, 2020
   28
                                                                   ROGERS DECL. ISO MOTION
                                              - 11 -               FOR SUMMARY JUDGMENT
                                                                        17-CV-01436 GPC DEB
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                                      23


    1
         Ex. Description                                                      Page
    2
    3    63. Curriculum Vitae of Kevin Cochrane, produced in this litigation  2518
             by the Rosette Defendants as ROS-0000212 and marked as Exhibit
    4        48 during the deposition of Kevin Cochrane taken on June 8, 2020
    5
    6    64. California Gambling Control Commission, Ratified Tribal-State    2519
             Gaming Compacts, as printed from
    7        www.cgcc.ca.gov/?pageID=compacts on August 14, 2020, by my
    8        colleagues at O’Melveny.

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                                                               ROGERS DECL. ISO MOTION
                                            - 12 -             FOR SUMMARY JUDGMENT
                                                                    17-CV-01436 GPC DEB
Case 3:17-cv-01436-RBM-DEB Document 322-7 Filed 09/09/20 PageID.20231 Page 14 of
                                      23


    1         I declare under penalty of perjury under the laws of the United States of
    2   America that the foregoing is true and correct.
    3         Executed on September 9, 2020 at Los Angeles, California.
    4
    5                                                    By:
                                                             Brittany Rogers
    6                                                      brogers@omm.com
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                                                                     ROGERS DECL. ISO MOTION
                                                - 13 -               FOR SUMMARY JUDGMENT
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         1.     Pauma v. State of California et al., Case No. 3:09-cv-01955 (S.D.    14
    4
                Cal.), Dkt. 1-1 (Amendment to Tribal-State Compact between
    5           State of California and Pauma Band of Mission Indians), dated
                June 21, 2004, produced in this litigation by W&C as WC5915-
    6
                WC5968
    7
    8           Presentation: Discussion Between the Pauma Band and the State
         2.                                                                          68
    9           of California re 2004 Compact Amendment Payments, dated
                January 13, 2009, produced in this litigation by the Rosette
   10           Defendants as ROS-0009612-ROS-0009620
   11
   12    3.     Complaint, Pauma v. State of California et al., Case No. 3:09-cv- 77
                01955 (S.D. Cal.), dated September 4, 2009, produced in this
   13           litigation by W&C as WC5825-WC5914 and marked as Exhibit 50
   14           during the deposition of Kevin Cochrane taken on June 8, 2020

   15
         4.     Pauma’s Motion for Preliminary Injunction, Pauma v. State of    167
   16           California et al., Case No. 3:09-cv-01955 (S.D. Cal.), Dkt. 20,
   17           dated February 16, 2010, produced in this litigation by W&C as
                WC6001-WC6030 and marked as Exhibit 52 during the deposition
   18           of Kevin Cochrane taken on June 8, 2020
   19
   20    5.     Order Granting Plaintiff’s Motion for Injunctive Relief Regarding    198
                Compact Payments, Pauma v. California, No. 3:09-cv-01955
   21           (S.D. Cal.), Dkt. 44, dated April 12, 2010
   22
   23    6.     Preliminary Injunction Appeal, Pauma v. State of California et al., 201
                Case No. 3:09-cv-01955 (S.D. Cal.), Dkt. 50, dated May 4, 2010
   24
   25           Order Denying Motion and Ex Parte Application for Stay, Pauma
         7.                                                                          213
   26           v. State of California et al., Case No. 3:09-cv-01955 (S.D. Cal.),
                Dkt. 55, dated May 7, 2010
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         8.   Opposition to Motion to Stay, Pauma v. State of California et al.,    215
    3
              Case No. 3:09-cv-01955 (S.D. Cal.), Dkt. 15, dated June 11, 2010
    4
    5         Order Granting State of California’s Motion to Stay, Pauma v.
         9.                                                                         241
    6         State of California, et al., Case No. 10-55713 (9th Cir.), Dkt. 39,
              dated July 28, 2010, produced in this litigation by W&C as
    7         WC6084-WC6085
    8
    9    10. Emergency Motion, Pauma v. State of California, et al., Case No.       243
             10-55713 (9th Cir.), Dkt. 51-1, dated August 17, 2010, produced
   10        in this litigation by W&C as WC6163-WC6290
   11
   12    11. Order vacating order to stay and reinstating preliminary injunction, 371
             Pauma v. State of California, et al., Case No. 10-55713 (9th Cir.),
   13        Dkt. 55, dated August 23, 2010, produced in this litigation by
   14        W&C as WC6291-WC6292

   15
   16    12. Transcript of deposition of Robert Rosette (Pauma v. Harrah’s          373
             Operating Co., Case No. GIC847406), dated October 26, 2010,
   17        produced in this litigation by W&C as WC6877-WC7077 and
             marked as Exhibit 71 during the deposition of Cheryl Williams
   18        taken on June 11, 2020
   19
   20    13. Order remanding action, Pauma v. State of California et al., Case      574
             No. 10-55713 (9th Cir.), Dkt. 64-1, dated November 30, 2010,
   21        produced in this litigation by W&C as WC6062-WC6069
   22
   23    14. Rosette response to Request for Proposal, dated July 23, 2011,         582
             produced in this litigation by the Rosette Defendants as ROS-
   24        0001816-ROS-0001827
   25
   26    15. Rosette response to Request for Proposal, dated July 9, 2012,          594
             produced in this litigation by the Rosette Defendants as ROS-
   27        0001874-ROS-0001878
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    2
    3    16. Order granting Pauma’s Motion for Summary Judgment, Pauma v. 599
             State of California et al., Case No. 3:09-cv-01955 (S.D. Cal.), Dkt.
    4        227, dated Mar. 18, 2013, produced in this litigation by W&C as
             WC6438-WC6468
    5
    6
         17. W&C Website, “Tribal Litigators, Advocates, Counselors,” dated        630
    7        July 19, 2013, produced in this litigation by the Rosette
    8        Defendants as ROS-0009524-ROS-0009525

    9
         18. W&C Presentation to the Quechan Tribal Council, dated        632
   10        September 14, 2016, produced in this litigation by W&C as
   11        WC5490-WC5501 and marked as Exhibit 56 during the deposition
             of Kevin Cochrane taken on June 8, 2020
   12
   13
         19. Letter from Tonto Apache Chairwoman Jeri DeCola to tribal             645
   14        leaders re Invitation to Discuss Gaming Compact Negotiations for
             Smaller Casino Tribes, dated February 28, 2017, produced in this
   15        litigation by the Rosette Defendants as ROS-0000001-ROS-
   16        0000007

   17
   18    20. W&C Presentation to the Quechan Tribal Council, dated March   652
             24, 2017, produced in this litigation by Quechan as QUECHAN-
   19        WC-00002520-QUECHAN-WC-00002543 and marked as Exhibit
             85 during the deposition of Cheryl Williams taken on June 11,
   20        2020
   21
   22    21. W&C Correspondence with the Tribal Council re: Contingency            676
             fee, dated April 5, 2017, produced in this litigation by Quechan as
   23        QUECHAN-WC-00002544-QUECHAN-WC-00002546
   24
   25    22. W&C email to State re Proposed edits to Compact Negotiations          679
             with Quechan Tribe, dated April 13, 2017, produced in this
   26        litigation by the California Department of Justice as DOJ01242-
   27
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    2        DOJ01243 and marked as Exhibit 15 during the deposition of Hon.
    3        Joginder Dhillon taken on June 2, 2020
    4
    5    23. Tribal-State Compact between State of California and Quechan         681
             Tribe, dated April 13, 2017, produced in this litigation by the
    6        California Department of Justice as DOJ01244-DOJ01386 and
             marked as Exhibit 16 during the deposition of Hon. Joginder
    7        Dhillon taken on June 2, 2020
    8
    9    24. Email between Quechan Vice President and C. Williams, dated          824
             April 13, 2017, produced in this litigation by Quechan as
   10        QUECHAN-WC-00002458
   11
   12    25. Email from C. Williams to Quechan Vice President, dated April        825
             14, 2017, produced in this litigation by W&C as WC0015-
   13
             WC0016
   14
   15    26. Rosette response to Request for Proposal for Professional        827
             Services: Outside Legal Counsel, dated April 19, 2017, produced
   16
             in this litigation by the Rosette Defendants as ROS-0001586-ROS-
   17        0001602
   18
   19    27. Email correspondence between Quechan Vice President and C.           844
             Williams, dated April 26, 2017, produced in this litigation by
   20        Quechan as QUECHAN-WC-00001883-QUECHAN-WC-
             00001885
   21
   22
         28. Email from Quechan Councilman Mark William White II to               847
   23        Wilson Pipestem, dated April 27, 2017, produced in this litigation
   24        by Quechan as QUECHAN-WC-00006969

   25
         29. Email from C. Deschene to Councilman White, dated May 30,            848
   26        2017, produced in this litigation by Quechan as QUECHAN-WC-
   27
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    2        00006988 and marked as Exhibit 69 during the deposition of
    3        Cheryl Williams taken on June 11, 2020
    4
    5    30. Letter from Tonto Apache President Calvin Johnson to Quechan        849
             President Keeny Escalanti, dated May 31, 2017, produced in this
    6        litigation by the Rosette Defendants as ROS-0000012-ROS-
             0000013
    7
    8
         31. Letter from Tonto Apache President Johnson to San Juan Southern 851
    9        Paiute Tribe President, dated May 31, 2017, produced in this
             litigation by the Rosette Defendants as ROS-0000008-ROS-
   10        0000009
   11
   12    32. Letter from Tonto Apache President Johnson to San Carlos            853
             Apache Chairman, dated May 31, 2017, produced in this litigation
   13
             by the Rosette Defendants as ROS-0000010-ROS-0000011
   14
   15    33. Letter from C. Deschene to Quechan Tribe of the Fort Yuma           855
             Indian Reservation re Proposal for Legal Services, dated May 31,
   16
             2017, produced in this litigation by Quechan as QUECHAN-WC-
   17        00006989-QUECHAN-WC-00006996 and marked as Exhibit 70
             during the deposition of Cheryl Williams taken on June 11, 2020
   18
   19
         34. Email from W&C to C. Montague dated June 9, 2017, produced in 863
   20        this litigation by W&C as WC0017-WC0018 and marked as
             Exhibit 58 during the deposition of Kevin Cochrane taken on June
   21
             8, 2020
   22
   23
         35. Email from W&C to Quechan, dated June 9, 2017, produced in          865
   24        this litigation by W&C as WC2778

   25
         36. Rosette response to Request for Proposal, dated June 14, 2017,      866
   26        produced in this litigation by the Rosette Defendants as ROS-
   27        0001603-ROS-0001624

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    2
    3    37. Email from W&C to Quechan, dated June 15, 2017, produced in       888
             this litigation by W&C as WC2782-WC2784 and marked as
    4        Exhibit 92 during the deposition of Cheryl Williams taken on June
             11, 2020
    5
    6
         38. Email from W&C to Quechan, dated June 18, 2017, produced in         891
    7        this litigation by W&C as WC2785 and marked as Exhibit 93
    8        during the deposition of Cheryl Williams taken on June 11, 2020

    9
         39. Quechan Letter re Termination of W&C Attorney-Client                892
   10        Relationship, dated June 26, 2017, produced in this litigation by
   11        W&C as WC2948-WC2951 and marked as Exhibit 96 during the
             deposition of Cheryl Williams taken on June 11, 2020
   12
   13
         40. Tribal State Compact between State of CA and Quechan Tribe,         896
   14        Dkt. 220-20, signed by Quechan on August 31, 2017, marked as
             Exhibit 31 during the deposition of Hon. Joginder Dhillon taken
   15        on June 2, 2020
   16
   17    41. Dhillon Decl. in Support of Quechan Motion to Dismiss, Dkt. 50-     1043
             4, dated April 6, 2018, marked as Exhibit 1 during the deposition
   18        of Hon. Joginder Dhillon taken on June 2, 2020
   19
   20    42. W&C Website, “Tribal Litigators, Advocates, Counselors,” dated      1050
             August 6, 2018, produced in this litigation by the Rosette
   21        Defendants as ROS-0009606-ROS-0009607
   22
   23    43. Biography of Robert Rosette, Dkt. 220-6, marked as Exhibit 53       1052
             during the deposition of Kevin Cochrane taken on June 8, 2020
   24
   25
         44. Email from B. Rogers to C. Williams and K. Cochrane attaching a     1058
   26        letter from M. Close to C. Williams and K. Cochrane re Request
             for Waiver of Attorney-Client Privilege, dated October 28, 2019
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    2
    3    45. Email from C. Williams attaching a letter from Chairman of the        1061
             Pauma Band of Mission Indians to M. Close re Request for
    4        Waiver of Attorney-Client Privilege, dated November 11, 2019
    5
    6    46. Email from B. Rogers to C. Williams and K. Cochrane attaching a       1066
             letter from M. Close to Chairman of the Pauma Band of Mission
    7        Indians re Response to Request for Waiver of Attorney-Client
    8        Privilege, dated November 25, 2019

    9
         47. Email from B. Rogers to C. Williams and K. Cochrane attaching    1071
   10        letter from M. Close to T. McAndrews re Response to Requests
   11        for Waiver of Attorney-Client Privilege, dated December 31, 2019

   12
   13    48. W&C’s Second Amended Responses to Rosette Defendants’ First           1074
             Set of Interrogatories, dated January 8, 2020
   14
   15    49. Email from B. Rogers to C. Williams and K. Cochrane attaching         1127
             letter from M. Close to T. McAndrews re Response to Request for
   16        Waiver for Attorney-Client Privilege, dated February 19, 2020
   17
   18    50. Email from C. Williams attaching a letter from Chairman of the        1129
             Pauma Band of Mission Indians to M. Close re Request for
   19        Waiver for Attorney-Client Privilege, dated February 29, 2020
   20
   21    51. Email from B. Rogers to C. Williams and K. Cochrane attaching a       1132
             letter from M. Close to Chairman of the Pauma Band of Mission
   22        Indians re Response to Request for Waiver of Attorney-Client
   23        Privilege, dated March 20, 2020
   24
   25    52. Transcript of deposition of Hon. Joginder Dhillon, dated June 2,      1135
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   26
   27    53. Transcript of deposition of Sara Drake, dated June 3, 2020            1425
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    3    54. Transcript of deposition of Kevin Cochrane, dated June 8, 2020     1549
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    5    55. Transcript of deposition of Cheryl Williams, dated June 11, 2020   1935
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    7    56. Expert Report of Lynda Shely, dated July 8, 2020                   2287
    8
    9    57. Expert Report of Bryan A. Garner, dated July 13, 2020              2324
   10
   11    58. Expert Report of Anthony Miranda, dated July 13, 2020              2340
   12
   13    59. Expert Report of George Forman, dated July 13, 2020                2437
   14
   15    60. Supplement to Expert Report of Bryan A. Garner, dated July 24,     2451
             2020
   16
   17
         61. Order, Pauma v. State of California et al., Case No. 18-56457 (9th 2452
   18        Cir.), dated September 2, 2020
   19
   20    62. W&C NIGA Presentation, produced in this litigation by W&C as 2474
             WC8001-WC8043 and marked as Exhibit 54 during the deposition
   21        of Kevin Cochrane taken on June 8, 2020
   22
   23    63. Curriculum Vitae of Kevin Cochrane, produced in this litigation  2518
             by the Rosette Defendants as ROS-0000212 and marked as Exhibit
   24        48 during the deposition of Kevin Cochrane taken on June 8, 2020
   25
   26    64. California Gambling Control Commission, Ratified Tribal-State      2519
             Gaming Compacts, as printed from
   27
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    2        www.cgcc.ca.gov/?pageID=compacts on August 14, 2020, by my
    3        colleagues at O’Melveny.
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